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             Exhibit 23
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                          MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION,
                                           HON. VINCE CHHABRIA
                                           COURTROOM 4 – 17TH FLOOR
This document relates to:                  SPECIAL MASTER: DANIEL GARRIE ESQ.

ALL ACTIONS                                ORDER RE: FACEBOOK’S MOTION
                                           FOR PROTECTIVE ORDER AGAINST
                                           PRODUCTION OF API CALL LOGS

                                          JAMS REF. NO: 1200058674




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                                            INTRODUCTION

         1.      Pending before Special Master Garrie is Facebook’s Motion for a Protective

Order Against Production of API Call Logs. Facebook seeks a protective order that the data in

the two tables titled                            (“Mobile Table”) and                              (“Web

Table”) is not reasonably accessible because of undue burden and cost and that Facebook is

protected from producing them.

                                             BACKGROUND

         2.      On May 6, 2020, Plaintiffs served their Third Set of Requests for Production in

which they requested “all records or logs of API Calls made by Third Parties for the Content and

Information of Friends of Installing Users.”1 See Exhibit A (Third Set of Requests for

Production) at 10.

         3.      Facebook uses APIs to allow Facebook’s users to be able to access their Facebook

profiles and those of their friends from local devices using Facebook’s own apps (e.g., when a

user pulls up their profile on a phone, the Facebook app calls Facebook’s central servers through

APIs to access the photos, posts, and other information displayed on that profile). See Exhibit B

(Ji Declaration) at ¶ 5. Facebook also uses APIs to allow third parties to connect with its servers

to send or receive information (e.g., a website can connect to Facebook’s APIs to verify a user’s

identity rather than requiring the user to create a specific account for that site). See id. at ¶ 6.

         4.      Facebook’s two                                   logs of API call activity are kept in two

data tables: the Mobile Table,

                                           ); and the Web Table, which logs API calls




1
  API refers to “Application Programming Interface,” a standard industry programming tool that allow computers
and computer programs to send information to each other. Each connection to an API is referred to as a “call.”

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                                                . See Exhibit B at ¶¶ 8-9. The Mobile Table and Web

Table reflect the number of calls made to the Facebook APIs

                      .2 The Mobile Table and Web Table do not contain data demonstrating whether

data was returned in response to an API call, what the data that was returned may have been (if it

was returned at all), or the volume of data that may have been returned (if it was transferred at

all). Id. at ¶ 14.

            5.      Facebook preserves the Mobile Table and Web Table in “cold storage” in a highly

compressed, non-readable format. Id. at ¶ 17. In cold storage, the data in the tables cannot be

reviewed or analyzed. Id. at ¶ 18. Facebook maintains the Mobile Table from

            and it contains approximately                         of data in highly compressed form.3 See

Exhibit C (Motion for Protective Order Against Production of API Call Logs) at 5. Facebook

maintains the Web Table from                                         and it contains approximately

              of data in highly compressed form. Id.

            6.      To analyze the data in the Mobile Table and Web Table, Facebook data scientists

must first restore a partition of the data to “warm storage”—a more accessible form of data

storage that makes the data readable. Id. at ¶¶ 20. Due to limitations on computing and server

capacity, only a limited number of partitions can be restored and analyzed at any given time. Id.

It takes about one day of processing to restore                           of data from the Tables to warm

storage. See id. at ¶ 18.




2
    The data fields included in the Mobile Table include                                                         p
                                           . See Exhibit A to Ji Declaration. The data fields in the Web Table include

                          See Exhibit C to Ji Declaration.
3
    A petabyte is one million gigabytes.

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            7.     Facebook data scientist Mengge Ji estimated it would take approximately four

years of dedicated full-time work for her to restore one partition, run searches across that

restored partition, and then repeat                                                                       not

including the additional time it would take to export data for production. Id. at ¶ 35.

            8.     Facebook also maintains a smaller table called                                      (“Method

Table”) that provides summary data                               of API calls

                                                       .4 Id. at ¶ 53.

            9.     On October 6, 2021, Special Master Daniel Garrie (“Special Master Garrie”) and

Hon. Gail Andler (Ret.) declared impasse on the issue of whether Facebook is required to

produce all API call log data.

            10.    On October 18, 2021, Facebook submitted its opening brief to Special Master

Garrie on this issue. See Exhibit C. Facebook argues that (a) the Mobile Table and Web Table are

not reasonably accessible because of undue burden and cost; and (b) Plaintiffs cannot show good

cause for the production of the inaccessible Mobile Table and Web Table data because the Tables

are outside the scope of discovery permitted by Rule 26(b)(1) and Facebook is willing to produce

alternative sources of information about the content of API call logs. Id.

            11.    On October 28, 2021, Plaintiffs submitted their Opposition to Facebook’s Motion

for a Protective Order to Stop Preserving Certain API Call Logs. See Exhibit D. Plaintiffs argue,

among other things, that (a) Facebook fails to demonstrate good cause for entry of a protective

order; and (b) Facebook fails to provide the information necessary to ascertain the benefits of




4
    The data fields included in the Method Table are
                                                                         . See Exhibit E to Ji Declaration.

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preservation. Id. Plaintiffs also propose that Facebook provide additional information regarding

the Mobile Table and Web Table to facilitate a targeted sampling of data from the Tables.

        12.    On November 2, 2021, Facebook submitted its Reply in Support of Motion for a

Protective Order Against Production of API Call Logs. See Exhibit E. Facebook argues, among

other things, that (a) Plaintiffs fail to show that the relevance, importance, or benefit of data from

the Mobile and Web Tables outweighs the burden of production; (b) Plaintiffs’ proposed solution

of sampling the Tables is unduly burdensome when balanced against the appropriate

proportionality considerations and would yield only irrelevant data; and (c) Plaintiffs have not

shown that the Method Table is an inadequate alternative to the Mobile and Web Tables.

                                             FINDINGS

        13.    According to Rule 26(b)(2)(B):

       A party need not provide discovery of electronically stored information from
       sources that the party identifies as not reasonably accessible because of undue
       burden or cost. On motion to compel discovery or for a protective order, the party
       from whom discovery is sought must show that the information is not reasonably
       accessible because of undue burden or cost. If that showing is made, the court may
       nonetheless order discovery from such sources if the requesting party shows good
       cause, considering the limitations of Rule 26(b)(2)(C).

        14.    “In general, [ESI is] inaccessible [if it] ‘is not readily useable and must be restored

to an accessible state before the data is usable.’” U.S. ex rel. Carter v. Bridgepoint Educ., Inc., 305

F.R.D. 225, 240 (S.D. Cal. 2015) (quoting Zubulake v. UBS Warburg LLC, 217 F.R.D. 309, 320

(S.D.N.Y. 2003)).

        15.    Special Master Garrie finds that the data in the Mobile Table and Web Table is not

reasonably accessible because it is not readily usable in its “cold storage” state and must be restored

to “warm storage” in order to be searched and analyzed (i.e. usable). See Exhibit B at ¶¶ 17-20.

Special Master Garrie finds that the time and cost of restoring, analyzing, and producing the data


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in the Mobile Table and Web Table would place an undue burden on Facebook when balanced

against the appropriate proportionality considerations.

         16.     Moreover, Special Master Garrie finds that restoring the data in the Mobile Table

and Web Table for the purpose of sampling, as Plaintiffs propose, would also place an undue

burden on Facebook, balanced against the appropriate proportionality considerations, as it would

require restoring the majority of partitions to warm storage, searching the partitions individually,

and exporting a large volume of data. Id. at ¶ 19, 28, 35. This process would most likely take years

to complete.

         17.     Special Master Garrie finds that Plaintiffs have not established good cause for

producing data from the Mobile Table and Web Table because comparable data is available

through the accessible Methods Table. Id. at ¶ 53. Moreover, Special Master Garrie finds that the

Mobile Table and Web Table are not likely to yield relevant information regarding the sharing of

user data with third parties because the Mobile Table and Web Table do not contain data

demonstrating whether data was returned in response to an API call, what the data that was

returned may have been (if it was returned at all), or the volume of data that may have been returned

(if it was transferred at all). Id. at ¶ 14.



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                                             ORDER

         18.   Facebook’s motion for a protective order against producing API call log data from

the Mobile Table and Web Table is granted.

         19.   No later than December 1, 2021, Facebook is to produce the data in the Methods

Table.




IT IS SO ORDERED.



         Monday, November 8, 2021                  ______________________________
                                                   Daniel Garrie
                                                   Discovery Special Master




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